                           UNITED STATES DISTRICT COURT

                           EASTERN DISTRICT OF LOUISIANA


 GLENN WASHINGTON                                 *           CIVIL ACTION NO.:
                                                  *           2:22-04054
 VERSUS                                           *
                                                  *
                                                  *           CHIEF JUDGE
 SAFEPOINT INSURANCE COMPANY                      *           NANNETTE JOLIVETTE
                                                  *           BROWN
                                                  *
                                                  *           MAGISTRATE JUDGE
                                                              DONNA PHILLIPS
                                                              CURRAULT
 ***************************                      *

                                     STATUS REPORT

   (1) Parties & Counsel

Plaintiff: Glenn Washington represented by:

Justin L. Winch
Winch Law Firm, LLC
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Defendant: Safepoint Insurance Company (“Safepoint”) represented by:

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   (2) Pending Motions

None.

   (3) Status Conference, Pretrial Conference, Trial dates

Status Conference:            TBD

Settlement Conference:        The parties must contact the Magistrate Judge by February 29,
                              2024 to schedule settlement conference to be held by March 28,
                              2024.

Pretrial Conference:          April 11, 2024 at 2:00 p.m.

Trial dates:                  April 29, 2024—April 30, 2024
                              Jury trial; expected 2 days

   (4) Factual and Legal Issues

           a. Whether Safepoint tendered adequate proceeds for Plaintiff’s claim.
           b. Whether Safepoint violated Louisiana’s bad faith statutes in handling Plaintiff’s
              claim.
           c. Whether Plaintiff complied with all provisions, conditions, and limitations outlined
              in the Policy.
           d. The value of the actual amount of loss to the property.
           e. Whether the losses claimed by Plaintiff were actually covered under the policy.
           f. Whether any prior conditions or events caused or contributed to the alleged
              damages at issue.
           g. Whether the alleged repairs made to the property were actually
              renovations/upgrades rather than repairs of the alleged Hurricane Ida damage.

   (5) Discovery

        The parties exchanged initial disclosures pursuant to this Court’s Case Management Order

regarding Hurricane Ida cases. Safepoint has also submitted additional disclosures pursuant to

FRCP 26. Plaintiff has yet to submit Rule 26 disclosures. Neither party has served additional

written discovery requests or conducted any depositions at this time.
   (6) Settlement Negotiations

       The parties participated in a mediation pursuant to this Court’s Case Management Order,

which was ultimately unsuccessful. The parties have continued to remain in contact and will

participate in a settlement conference with the magistrate prior to March 28, 2024, if not yet

resolved.

       Counsel for Plaintiff was contacted for input as to this Status Report, but Safepoint did not

receive a response. Accordingly, Safepoint is filing this Status Report unilaterally rather than as a

Joint Status Report.




                                               Respectfully submitted,

                                               /s/ John A. Doran

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                                               Attorneys for Defendant, Safepoint Insurance
                                               Company
                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that the above and foregoing was electronically filed with the

Clerk of Court of the Eastern District of Louisiana by using the CM/ECF system, which will send

a notice of electronic filing to all counsel of record on this 16th day of June, 2023.


                                                       /s/ John A. Doran

                                                       JOHN A. DORAN
